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FoR THE soUTHERN DISTRICT oF TEXAS UCT 0 8 2002
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mailed N. Mi|by, Clark of Bolllt
JANE DoEs, A MINoR, §
§ CIvIL ACTION No. H-02-2131
Plaintiff,

Vs.

MINOLA’S PLACE OF TEXAS
RESIDENTIAL TREATMENT CENTER;
ADMH\USTRATOR, MINOLA’S PLACE OF
TEXAS RESIDENTIAL TREATMENT
CENTER, IN HER INDIVIDUAL
CAPACITY AND OFFICIAL CAPACITY,

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Defendants
ORDER GRANTING AGREED PERMANENT INJUNCTION

Before the Court is the Joint Motion for Agreed Permanent lnjunction filed by Plaintiff, Jane

Doe (“Doe”) and Defendants Minola’s Place of Texas and Adrninistrator Rozella Gray (collectively,
“Defendants”).

The Court finds that all conditions necessary for entry of a permanent injunction have been met.

The Court ORDERS that Defendants Minola’s Place of Texas, including Rozella Gray,

Administrator of Minola’s Place of Texas, and all employees of Minola’s Place of Texas, are

ENJ()INED from denying or delaying Doe or any juvenile in their custody access to any legal medical

services including, but not limited to, abortion services Further, the Coult finds that parties have

settled and that in accordance With the settlement agreement, all costs and attorney’s fees are to be paid

by Defendant.

Signed this § day of October, 2002. /

vYANEssA D. GiLMoRE
UNITED sTATEs DISTRICT JUDGE

